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                 EXHIBIT B
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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      VICTORIA DIVISION

IN RE:                                               §
                                                     §
SCOTT VINCENT VAN DYKE                               §                CASE NO. 21-60052
                                                     §                CHAPTER 7
                                                     §
         DEBTOR                                      §                JUDGE CHRISTOPHER M. LOPEZ


              DECLARATION OF LYNN HAMILTON BUTLER IN SUPPORT OF
               TRUSTEE’S APPLICATION TO EMPLOY GENERAL COUNSEL

         I, Lynn Hamilton Butler, declare as follows:

         1.        My name is Lynn Hamilton Butler. I am over the age of 18 years, I am competent to

make this Declaration. I have personal knowledge of the facts stated herein, and every statement

contained herein is true and correct.

         2.        I am an attorney duly admitted to practice law in the state of Texas and before this

Court.

         3.        I am a Partner with the law firm of Husch Blackwell LLP (the “Firm”). The Firm

maintains offices for the practice of law at 111 Congress Avenue, Suite 1400, Austin, Texas 78701. The

Firm’s main telephone number is (512) 472-5456 and the main fax number is (512) 479-1101.

         4.        I submit this Declaration in connection with the Application of the Trustee to retain

Husch Blackwell LLP as general counsel to the Trustee (the “Application”), and to provide the

disclosures required under § 327(e) of the Bankruptcy Code, Rule 2014(a) and Rule 2016 of the

Federal Rules of Bankruptcy Procedure, and Rule 2014 of the Local Rules of the United States

Bankruptcy Court for the Southern District of Texas (the “Local Rules”).

                                          Professional Qualifications

         5.        As set forth in the Application, the Trustee seeks to retain the Firm to assist the Trustee in:

(a) prosecuting avoidance claims under Chapter five (5) of the US Bankruptcy Code, or similar State law;


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recovering property of the estate from the Debtor or third parties; and/or generally prosecuting claims of the estate

against third parties arising from any source; (b) analyzing business associations of the Debtor and prosecuting

actions to recover and/or liquidate such interests; (c) preserving and/or selling non-exempt real and/or personal

property interests of the estate; (d) obtaining Court approval for the employment of professionals to assist in

execution of the Trustee’s duties; (e) reviewing and objecting to claims identified by the Trustee as problematic;

and (f) addressing unanticipated legal issues which may arise during administration of the estate.

         6.        The Firm has substantial experience in all manners of proceedings under the

Bankruptcy Code, having represented trustees, debtors, creditors, official committees of unsecured

creditors, liquidating trustees, and other parties in interest in bankruptcy cases in this District,

throughout Texas, and across the country. In addition, the Firm has previously prosecuted multiple

preference and other avoidance actions in bankruptcy cases in this District. The Firm also has

significant experience defending preference litigation. The Firm is well qualified to represent the

Trustee as special counsel in investigating, negotiating, and prosecuting the Avoidance Actions, and is

willing to accept employment on the basis set forth in the Application.

                                      Disinterestedness of Professionals

         7.        To the best of my knowledge, neither I nor the Firm, insofar as I have been able to

ascertain and except as set forth herein, hold or represent any interest adverse to the Debtor, the Trustee,

or the estate with respect to the matter on which the Firm is to be employed; nor (b) represent any other

entity in connection with this case having an interest adverse to the Trustee or the Debtor’s estate with

respect to the matter on which the Firm is to be employed. In addition, insofar as I have been able to

ascertain, other than in connection with this case or as set forth herein, the Firm has no connection with

the Debtor, its creditors, or any other party-in-interest herein.

         8.        In preparing this Declaration, the Firm submitted the names of potential defendants

provided by the Trustee as certain transferees for a search in the Firm’s conflict system. The Firm


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maintains and systematically updates its conflict database in the regular course of business, and it is a

regular practice of the Firm to make and maintain these records. It is the Firm’s policy that no new

matter may be opened without submitting the information necessary to check each matter for conflicts,

including the prospective client, as well as related and adverse parties.

         9.        My review was based on individuals and entities provided by the Trustee. It is possible

that there are individuals or entities whom the Trustee did not identify in his records that are clients of

the Firm. The following summarizes the findings gleaned from my review of the information available

on the Firm’s conflict system. In addition, despite the efforts of the Firm to identify and disclose its

connections, the Firm may represent or have connections to affiliates of entities or individuals whose

identities and affiliation did not show up on the conflict system.

         10.       The Firm has represented, and in the future may represent, certain creditors and other

parties-in-interests adverse to such creditors or parties-in-interest in matters unrelated to this case.

         11.       The Firm has reviewed the list of those entities provided by the Trustee. I have

reviewed the names of the entities listed, and have ascertained, to the best of my knowledge, that the

Firm has no connections to those entities, especially in relation to the Debtor. The Firm does not and

will not represent any entity listed in connection with any matter relating to the Trustee, or this case.

         12.       In the event that any matter was in the future to give rise to a potential conflict with

respect to matters that otherwise would have been handled by the Firm, another firm will handle such

matters at the Trustee’s election, and the Firm will not be involved.

         13.       The Firm has in the past, and is likely in the future, to have common clients and

connections with the Debtor’s prepetition and post-petition attorneys, accountants, and other

professionals. None of these connections are material or present any conflict of interest.




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         14.       Except as set forth herein, especially in its role as the Debtor’s prepetition bankruptcy

counsel, neither I nor the Firm have had any connection with the above-named Debtor, or insiders or

affiliates of the Debtor, the Debtor’s creditors, any other party in interest, their respective attorneys and

accountants, the Trustee, the United States Trustee, or any other person employed in the Office of the

United States Trustee.

         15.       As a result of my review of the information available on the Firm’s conflict system, I

have thus far ascertained that, except as may be set forth herein, upon information and belief, if

retained, the Firm:

                   a       Is not an equity security holder of the Debtor or an “insider” of the Debtor, as
                           that term is defined in § 101(31) of the Bankruptcy Code;

                   b       Is not and has not been, within two (2) years before the date of the filing of the
                           petition, a director, officer, or employer of the Debtor; and

                   c       does not have an interest materially adverse to the interests of the Debtor’s
                           estate, or of any class of creditors, by reason of any direct or indirect
                           relationship to, connection with, or interest in, the Debtor with respect to the
                           matter on which the Firm is to be employed.

         16.       The Firm will periodically review both the changes in identifiable parties in interest in

this case, and clients of the Firm as such information becomes available or relevant and will update this

disclosure as appropriate.

         I declare under penalty of perjury that the foregoing is true and correct.

         Executed on this 12th day of April 2022.




                                                           Lynn Hamilton Butler




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